Case 4:20-cr-10002-KMM Document 12 Entered on FLSD Docket 01/13/2020 Page 1 of 5
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                                                                                            Jan 10, 2020
                              UNITED STATES DISTRICT COURT
                                                                                             ANGELA E. 1'.0BLE
                              SOUTHERN DISTRICT OF FLORIDA                                  CLERK U.S. DIST. CT.
                                                                                            S. D. OF FLA - MIAMI
                     20-10002-CR-MARTINEZ/SNOW
                          Case No.
                                   -18-u.s.c.
                                         -------
                                              § 795
                                                    -
                                           18 u.s.c. § 1382

  UNITED STATES OF AMERICA,

  vs.

  L YUYOU LIAO,

         Defendant.
                                              I
  - - - - - - - - - - - - --
                                            INDICTMENT

         The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

         At times material to this Indictment:

         1.      The defendant, LYUYOU LIAO, a citizen of the People's Republic of China,

  was present in the Southern District of Florida, on Naval Air Station (NAS) Key West, Truman

  Annex , a naval post and installation under the Department of the Navy.

         2.      NAS Key West, Truman Annex, is a vital military and naval installation that

  requires protection against the general dissemination of information relative to it.

                                        COUNT ONE
                       (Photographing and Sketching Defense Installations)
                                       (18 u.s.c. § 795)

          I.     The General Allegations section of this Indictment are re-alleged and incorporated

  by reference as though fully set forth herein.

         2.      On or about December 26, 2019, in Monroe County, in the Southern District of

  Florida, the defendant, L VUYOU LIAO, went upon and entered NAS Key West, Truman
Case 4:20-cr-10002-KMM Document 12 Entered on FLSD Docket 01/13/2020 Page 2 of 5



 Annex, a federal military installation in order to, and did knowingly, video record a defense

 installation, to wit: MP4 video c4dfDbf4ae2fl bfa8e211400a8cbd5 l be3b97e4a, without first

 obtaining permission of the commanding officer of the naval post, in violation of Title 18,

 United States Code, Section 795.

                                       COUNT TWO
                      (Photographing and Sketching Defense Installations)
                                      (18 u.s.c. § 795)

         1.     The General Allegations section of this Indictment are re-alleged and incorporated

 by reference as though fully set forth herein.

        2.      On or about December 26, 2019, in Monroe County, in the Southern District of

 Florida, the defendant, LYUYOU LIAO, went upon and entered NAS Key West, Truman

 Annex, a federal military installation in order to, and did knowingly, photograph a defense

 installation, to wit: digital JPEG photograph 4ad34692178d05d69fd63b85fd50el6fD0ea6087,

 without first obtaining permission of the commanding officer of the naval post, in violation of

 Title 18, United States Code, Section 795.

                                      COUNT THREE
                      (Photographing and Sketching Defense Installations)
                                      (18 u.s.c. § 795)

        1.      The General Allegations section of this Indictment are re-alleged and incorporated

 by reference as though fully set forth herein.

        2.      On or about December 26, 2019, in Monroe County, in the Southern District of

 Florida, the defendant, LYUYOU LIAO, went upon and entered NAS Key West, Truman

 Annex, a federal military installation in order to, and did knowingly, photograph a defense

 installation, to wit: digital JPEG photograph !SC_0156, without first obtaining permission of the

 commanding officer of the naval post, in violation of Title 18, United States Code, Section 795.



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                                                                                                     ---------.
Case 4:20-cr-10002-KMM Document 12 Entered on FLSD Docket 01/13/2020 Page 3 of 5



                                           COUNT FOUR
                      (Entering Military, Naval, or Coast Guard Property)
                                       (18 u.s.c. § 1382)

         I.     The General Allegations section of this Indictment are re-alleged and incorporated

 by reference as though fully set forth herein.

        2.      On or about December 26, 2019, in Monroe County, in the Southern District of

 Florida, within the jurisdiction of the United States, the defendant, LYUYOU LIAO, went upon

 and entered NAS Key West, Truman Annex, a federal military installation for any purpose

 prohibited by law or lawful regulation, that is, for the purpose of photographing a defense

 installation, a violation of Title 18, United States Code, Section 795, in violation of Title 18,

 United States Code, Section 1382.

                                                      ATRU~L.




 ARIANA FAJARDO ORSHAN '\
 UNITED STATES ATTORNEY




 JO ATHAN KOBRINSKI
 A SISTANTUNITED STATES ATTORNEY




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  Case 4:20-cr-10002-KMM Document 12 Entered on FLSD Docket 01/13/2020 Page 4 of 5
                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                    CASE NO.
vs.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
LYUYOULIAO,

                              Defendant.
                                                I              Superseding Case Information:

Court Division: (Select One)                                   New Defendant(s) Yes _ _ No
                                                               Number of New Defendants
        Miami                 Key West __x_                    Total number of counts
        FTL                   WPB          FTP

        I do hereby certify that:
        1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
                 witnesses and the legal complexities of the Indictment/Information attached hereto.

        2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in
                 setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C.
                 Section 3161.

        3.       Interpreter:     (Yes or No)           Yes
                 List language and/or dialect        7vlariaarin

        4.       This case will take        -2.._    days for the parties to try.

        5.       Please check appropriate category and type of offense listed below:
                 (Check only one)                                       (Check only one)


        I        0    to 5 days             X                           Petty
        II       6    to 10 days                               Minor
        III      11    to 20 days                                       Misdem.
        IV       21    to 60 days                                       Felony
        V        61   days and over

        6.       Has this case been previously filed in this District Court?  ; ;_N;. ; .o_ _ (Yes or No)
        If yes:
        Judge:___,,..,-----,---,,.....,..,-----,--,----,--,------    Case No.
                 (Attach copy of dispositive order)
        Has a complaint been filed in this matter?         Yes (Yes or No)
        If yes:
        Magistrate Case No.                            I 9-mj-05450-Snow
        Related Miscellaneous numbers:                 --------------------------
        Defendant( s) in federal custody as of         12/26/2019
        Defendant(s) in state custody as of          --------------------------
        Rule 20 from the District of

        ls this a potential death penalty case?      l':!Q__     (YesorNo)

        7.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior to
                 October 14, 2003? ___Yes           ___x.__           No
        8.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior to
                 September 1, 2007?          ___ Yes         _X
                                                              _ _ No
                                                                                                                                     r'
                                                               JOf.;:.~RfNSKI
                                                               ASSIST ANT UNITED STA TES ATTORNEY
                                                               Court No. A5501893
Penalty Sheet(s) attached                                                                                    REV 4/8/08
Case 4:20-cr-10002-KMM Document 12 Entered on FLSD Docket 01/13/2020 Page 5 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: L YUYOU LIAO

  Case No:


  Counts#: 1-3

   Photographing and Sketching Defense Installations

  Title 18, United States Code, Section 795

  *Max. Penalty: One (1) Year of Imprisonment

  Count#: 4

  Entering Military, Naval, or Coast Guard Property

  Title 18, United States Code, Sections 1382

  *Max. Penalty: Six (6) Months oflmprisonment

    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
